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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 FEDERAL TRADE COMMISSION, et al.,

                           Plaintiffs,

         v.                                                   CIVIL ACTION

 THOMAS JEFFERSON UNIVERSITY, et                              NO. 20-1113

 al.,

                           Defendants.


                                            ORDER

        AND NOW, this 21st day of September, 2022, after reviewing Aetna’s original

Motion to Seal (ECF 286), Aetna’s Supplemental Brief (ECF 296), and all exhibits

thereto, and for the reasons discussed at today’s hearing on the Motion, the Motion is

GRANTED:

        1. The exhibits identified in Exhibits 1–6 to Aetna’s Supplemental Brief shall be

              filed UNDER SEAL with redacted versions for the public record, as

              indicated therein.

        2. Portions of Exhibits 1–6 that have been redacted or withheld entirely from

              disclosure shall remain subject to the restrictions on disclosure for Highly

              Confidential documents as set forth in the Stipulated Protective Order (ECF

              55).

                                                           BY THE COURT:



                                                           /s/ Gerald J. Pappert
                                                           GERALD J. PAPPERT, J.
